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 AO 239 (Rev. 01115) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)                          in   Clerles Qfg   e

                                        UNITED STATES DISTRICT COURT                                                                FEB 2 2 2022
                                                                           for the




                          Plaintiff/Petitioner
                                   V.                                          )        Civil Action No.                       v
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                                  t/ espondent                                 )
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        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Long Form)


 Affidavit in Support of the Application                                     Instructions

 I am a plaintiff or petitioner in this case and declare                     Complete all questions in this application and then sign it.
 that I am unable to pay the costs of these proceedings                      Do not leave any blanks: if the answer to a question is "0,"
 and that I am entitled to the relief requested. I declare                   "none," or "not applicable (N/A)," write that response. If
 under penalty of perjury that the information below is                      you need more space to answer a question or to explain your
 true and understand that a false statement may result in                    answer, attach a separate sheet of paper identified with your
 a dismissal of my claims.        /-111                                      name, your case's docket number, and the question number.

 Signed:                                                                     Date:       ;k i x             `7 i

          For both you and your spouse estimate the average amount of money received from each of the following
          sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
          semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
          for taxes or otherwise.
                        Income source                                  Average monthly income                          Income amount expected
                                                                       amount during the past 12                             next month
                                                                               months
                                                                         You            Souse                            You                Souse
Employment                                                        $                $                               $                    $

Self-employment                                                                           $                        $                    $
                                                                  $
                                                                                                                               A
Income from real property (such as f•ental income)                $                       $                                             $


Interest and dividends                                            $                       $                        $                    $

Gifts                                                             $                                                $                    $
                                                                                                                                                  4-
Alimony                                                           $
                                                                                          $
                                                                                          $
                                                                                                      Al           $                    $
                                                                                                      -N A
Child support                                                     $                       $                        $                    $




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Retirement (such as social security, pensions, annuities,         $                as                          $                       $
insurance
Disability (such as social security, insurance payments)          $                Q     $                     $                       $
                                                                                                     /
                                                                                                                         0                     4)61
Unemployment payments                                             $                      $                    $                        $

Public-assistance (such as welfare)                               $                      $                    $                        $
                                                                                  0                                      N
Other (specify):                                                 $                       $                    $                        $

                                                                                                                             N    A
                                                                                  0.00 $                  0.00 $                 0.00 $             0.00
                                  Total monthly income: $

          List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
          other deductions)

Employer                            Address                                                       Dates of employment                     Gross
                                                                                                                                        monthly
                                                                                                                                               S   Oi?

-U44CYj                       1                                                                [
                                                                                                 ll--
                                                                                                 e                                     $             Q

 —                   Njfl~A-            1 _4 .                                               . .-                  - .
                                                                                                                                           v
3.        List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
          taxes or other deductions)

Employer                            Address                                                       Dates of employment                     Gross
                                                                                                                                        monthly a
                          r                                                       -




4.       How much cash do you and your spouse have? $
         Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution                            Type of account                                 Amount you have                      Amount your
                                                                                                                                       spouse has
                                                                                         $                                        $
                                                                                                                         D                         06 1



                                  0A                                               A`% $                                          $




If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.



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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings.
                                                     Assets owned by you or your spouse

Home    (Value)                                                                                              $

Other real estate (value)                                                                                    $

Motor vehicle #1 (value)                                                                                     $                            ~
                                                                                                                                      V
                  Make and year:

                  Model:

                  Registration #:
                                                                  C
Motor vehicle #2 (value)                                                                                     $

                  Make and year:

                  Model:

                  Registration #:

Other assets (value)                                                                                         $

Other assets (value)                                                                                         $

         State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse                          Amount owed to you                               Amount owed to your spouse
money




F7                                          i s     /                                             $

7.       State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only)                                     I Relationship                                       jAge




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8.        Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
          spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
          monthly rate.
                                                                                                                You                Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)
          Are real estate taxes included?            0 Yes        0 No                                     $                   $
          Is property insurance included? d Yes 0 No                                                                                      Ai A
Utilities (electricity, heating fuel, water, sewer, and telephone)                                         $                   $

Home maintenance (repairs and upkeep)                                                                      $                   $
                                                                                                                                         j~J A
Food                                                                                                       $                   $
                                                                                                                                        N
Clothing                                                                                                   $                   $
                                                                                                                                            4
Laundry and dry-cleaning                                                                                   $                   $        aA
Medical and dental expenses                                                                                $                   $

Transportation (not including motor vehicle payments)                                                      $
                                                                                                                L              $

Recreation, entertainment, newspapers, magazines, etc.                                                     $                   $

Insurance (not deducted from wages or included in mortgage payments)

          Homeowner's or renter's:                                                                         $                   $

          Life:                                                                                            $
                                                                                                                      c) $
          Health:                                                                                          $                   $

          Motor vehicle:                                                                                   $                   $

          Other:                                                                                           $                   $
Taxes (not deducted from wages or included in mortgage payments) (specify):                                $                   $


Installment payments

          Motor vehicle:                                                                                   $                   $

          Credit card (name):                  1 1 W~                                                      $                   $              VA

          Department store (name):                                                                         $                   $
                                                                                                                           i

          Other:                                                                                           $                   $

Alimony, maintenance, and support paid to others                                                                ,   \ ~,       $
                                                                                                           Is

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Regular expenses for operation of business, profession, or farm (attach detailed                           $               $
statement)                                                                                                          N              N
                                                                                                                                          '
Other (specify):                                                                                           $               $           ii I
                                                                                                                    (~
                                                                                                                        00 $               0.00
                                                                       Total monthly expenses: $

9.    Do you expect any major changes to your monthly income or expenses $r in your assets or liabilities cL4ring the
       next 12 months?                                       (, \.JO
    "7 i,, Yes 0 No         If yes, describe on an attached sly. V1 ~1       ~
                                                                   UQQ ~~                   4 ~~ ~~
10.   Have you spent           you be spending — any money for~zpais'esor a orn 4efs in conjunction with this
      lawsuit? 0 Yes
                        ~~o
      If yes, how much? $

11.       Provide any other information that will help explain why you cannot pay the costs of these proceedings.
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                                                                        11  ~lctl                G              ~b
                                                                                                                                  ~5             ,
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                                                                                                                                               ~0J,
                                                                                                                                                     3



12.       Identify the city and state of your legal res              nice" I~          1~ kkU 1
                                                       -rwoj'0 cC-
          Your daytime phone number:                                                             11 C I
          Your age:                    Your years of schooling:



                                     Qal'~
          Wtn
             P, m c,~-a                                             C'S cx~,




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                              UNITED STATES DISTRICT COURT
                                                         for the
                              MIDDLE DISTRICT OF TENNESSEE
Anthony Parker
                                                             Plaintiff,
V                                                                                     Case No.: 3:22—ev-00063

Hankook Tire Manufacturing Tennessee, LP
                                                             Defendant,


        NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

     Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final
judgment. The judgment may then be appealed directly to the United States court of appeals like any other
judgment of this court. A magistrate judge may exercise this authority oniy if ah parties voiuntarily consent.


     You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge
who may otherwise be involved with your case.


     Consent to a magistrate judge's authority. The following parties consent to have a United States magistrate




                                "
judge conduct all proceedings in this case including trial, the entry of final judgment, and all post—trial proceedings.


            Parties' printed names                   Signature            arties or attorneys                    Dates

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                                                  Reference Order

     IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                   District Judge's signature



                                                                                    Printed name and title


     DO NOT FILE THIS FORM UNLESS ALL PARTIES CONSENT TO PROCEED BEFORE THE
MAGISTRATE JUDGE. When filing the Notice of Consent, in the CM/ECF filing system, use the event listed
under Notices, Notice of Consent of the Parties.


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